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                             Nebraska Court of Appeals Advance Sheets
                                  32 Nebraska Appellate Reports
                                                    ISHAM V. JACK
                                                Cite as 32 Neb. App. 647



                                        Dylan R. Isham, appellant, v.
                                          Billy C. Jack, appellee.
                                                    ___ N.W.2d ___

                                        Filed February 13, 2024.   No. A-22-880.

                 1. Specific Performance: Equity: Appeal and Error. An action for spe-
                    cific performance sounds in equity, and on appeal, an appellate court
                    tries factual questions de novo on the record and, as to questions of both
                    fact and law, is obligated to reach a conclusion independent from the
                    conclusion reached by the trial court.
                 2. Replevin: Judgments: Appeal and Error. In a replevin action tried
                    without a jury, the findings and disposition of the trial court have the
                    effect of a jury verdict and will not be disturbed unless clearly wrong.
                 3. Specific Performance: Contracts. Specific performance may be
                    granted only where there is a valid, legally enforceable contract and
                    the party seeking specific performance has substantially complied with
                    the terms of that contract.
                 4. Options to Buy or Sell: Real Estate: Contracts: Sales. An option
                    to purchase realty in and of itself does not create a binding obligation
                    to either sell or purchase the realty; however, once an option to pur-
                    chase is exercised, it becomes a contract for the purchase and sale of
                    the realty.
                 5. Waiver: Words and Phrases. Waiver is a voluntary and intentional
                    relinquishment or abandonment of a known existing legal right or such
                    conduct as warrants an inference of the relinquishment of such right.
                 6. Contracts: Waiver: Proof. A written contract may be waived in whole
                    or in part, either directly or inferentially, and the waiver may be proved
                    by express declarations manifesting the intent not to claim the advan-
                    tage, or by so neglecting and failing to act as to induce the belief that it
                    was the intention to waive.
                 7. Replevin: Proof. In a replevin case, the plaintiff has the burden to
                    prove by a preponderance of the evidence that at the time of the com-
                    mencement of the action (1) the plaintiff was the owner of the property
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                            ISHAM V. JACK
                        Cite as 32 Neb. App. 647
   sought, (2) the plaintiff was entitled to immediate possession of the
   property, and (3) the defendant wrongfully detained it.
8. Replevin: Abandonment. Abandonment is a complete defense to a
   replevin action.
9. Abandonment: Proof: Words and Phrases. Abandonment is the vol-
   untary and intentional relinquishment of a right to property, and the
   evidence proving abandonment must be clear and convincing.

  Appeal from the District Court for Butler County: Christina
M. Marroquin, Judge. Affirmed.
  George H. Moyer, of Moyer, Moyer &amp; Lafleur, for appellant.
  Billy C. Jack, pro se.
  Riedmann, Bishop, and Welch, Judges.
  Bishop, Judge.
                      INTRODUCTION
   Dylan R. Isham appeals the decision of the Butler County
District Court that denied his complaint against Billy C. Jack
regarding possession of a garage after finding that Isham had
abandoned the garage and that it would be inequitable to allow
him to remove the garage. We affirm.
                       BACKGROUND
   On July 8, 2021, Isham filed a complaint against Jack
regarding possession of a garage owned by Isham. Isham
alleged that on May 11, 2019, he and Jack contracted and
agreed to exchange manufactured/mobile homes. Specifically,
Isham agreed to trade his “1973 Shar-Lo manufactured home”
for Jack’s “1988 Skamper 305F mobile home,” and each party
accepted the other’s manufactured/mobile home “‘as is’”;
“the trade was even, ‘no money exchanged.’” Isham alleged
that there was a “frame two-car garage” attached to his manu-
factured home, which garage was expressly excluded from
the trade, but that Jack was given the option to purchase the
garage for $3,000 and could exercise that option any time
prior to and including May 11, 2020. Isham alleged that Jack
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
failed to exercise the option and that when Isham attempted
to remove the garage, Jack claimed it was his and called
law enforcement. In his complaint, Isham sought “specific
perform­ance of the agreement” between Isham and Jack, asked
the district court to “decree that [Isham] is entitled to posses-
sion of the two-car garage and issue a writ of assistance to
place [Isham] in possession thereof, for damages for wrongful
detention, for his costs expended and such other and further
relief as equity requires.”
   In his pro se response, Jack claimed that he sent Isham a
text message on June 3, 2019, notifying Isham that he did
not want to purchase the garage and asking Isham to remove
the garage. Isham did not respond to Jack’s text message, and
after several months, Jack considered the garage abandoned
and proceeded with repairs to the garage. Jack alleged that he
did not receive any communication from Isham until February
25, 2021—more than 20 months after Jack notified Isham to
remove the garage and 9 months after the final option date
stated in the parties’ contract. Isham demanded full payment
or the immediate removal of the structure, but Jack notified
Isham that the property was abandoned and that he had pro-
ceeded with repairs and integrated the garage into the existing
manufactured home. Jack alleged that he received a demand
letter from Isham’s attorney on June 10, demanding $5,000
“for the structure and ‘rent,’” but after Jack contacted Isham’s
attorney to explain that Isham had abandoned the property,
Jack received notification of the lawsuit on July 25. Jack asked
the district court to dismiss Isham’s lawsuit because “[Isham]
is asking for relief from the court that is a direct cause of
his own negligence.” Jack alleged that “[i]t is reasonable to
assume that after 12 months of waiting [Isham] no longer had
any interest in [the] structure and was abandoning [it].”
   Trial was held on August 16, 2022. Isham appeared with
counsel, and Jack appeared pro se. Isham testified in his
own behalf and called two witnesses to testify on his behalf.
Several exhibits were also received into evidence. Jack did
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
not testify, nor did he call any witnesses to testify, but he did
elicit evidence through his cross-examination of Isham and
the witnesses called by Isham.
   Wendy Isham (Wendy), Isham’s mother, testified that she
purchased the manufactured home, including the garage, in
2014. She said she received a title for the manufactured home
and a purchase agreement for the garage. Wendy never lived
in the manufactured home, but her son did live there. Isham
testified that he moved into the manufactured home in early
to mid-2014, and his mother transferred title of the property,
including the garage, to him “[w]hen [he] got done paying
her back for it,” which took him “something like two years.”
According to Wendy, the manufactured home is titled like
a motor vehicle. Wendy said, “The title would have been
recorded, and the transfer of the property would have been
recorded also because it included the garage.”
   Subsequently, in 2019, Isham traded the manufactured
home to Jack for a mobile home. Isham testified that a friend
of his knew he was looking to get out of the manufactured
home and purchase a different house. That friend introduced
Isham to Jack, who was living in a small fifth-wheel trailer
but needed a bigger space for his family. In addition to hav-
ing some face-to-face conversations, Isham and Jack began
communicating through text messages and Facebook, and
eventually, they agreed to trade homes. Isham testified that
“I wanted to buy a bigger home for myself, so I thought this
camper, I can move to my parents’ property and still have the
space for myself while I save money for my own home,” and
that “I thought in the process, if I can help somebody else out,
so be it.”
   Wendy testified that she helped Isham draft the “Purchase
Agreement,” which was received into evidence and states:
          I . . . Isham trade my 1973 SHAR-LO MFGD home
      VIN# . . . “ AS IS” located at . . . Lakeside Estates to
      . . . Jack for his 1988 Skamper 305F mobile home VIN#
      . . . “AS IS” and removed from Lakeside Estates. An
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             32 Nebraska Appellate Reports
                           ISHAM V. JACK
                       Cite as 32 Neb. App. 647
       even trade for my MFGD home and the mobile home is
       agreed with no money exchanged.
          . . . Jack will be responsible for the lot rent charged by
       Lakeside Estates beginning May 1, 2019[.]
          **This trade of MFGD home and mobile home
       excludes the MFGD home’s attached 2 car garage owned
       by . . . Isham located at . . . Lakeside Estates. . . . Jack
       has the option to purchase the attached 2 car garage
       for the amount of $ 3000.00 until May 11, 2020. If the
       attached 2 car garage is not purchased and paid in full
       by May 11, 2020, . . . Isham will remove the attached 2
       car garage from . . . Lakeside Estates.
(Emphasis in original.) The purchase agreement was signed
by Isham and Jack on May 11, 2019. Wendy testified that
it was her understanding that Jack had a deadline to pay for
the garage if he wanted it, but “we did not have a deadline to
remove the garage.”
    Jack sent Isham a text message on June 3, 2019, stating,
“Hey I’m gonna pass on the garage with the price and what
it will take to fix it I think it’s just to much..I need to get it
moved out soon tho so I can get other stuff done.” Isham tes-
tified that he remembered seeing the text message “at some
point,” but he “did not see it June 3rd.” When asked when he
saw the message, Isham responded, “I would say sometime
within a month.”
    Isham was asked if he tried to contact Jack about moving
the garage after the option to purchase it expired on May 11,
2020. Isham said, “I remember I looked him up on Facebook,
because a lot of [the original] messages . . . were through
Facebook, [but] I couldn’t find a profile anymore,” so “I
assumed he had blocked me.” When asked again if he tried to
contact Jack, Isham said, “Yes,” “[t]hrough Facebook.” When
asked if he went over and knocked on Jack’s door, Isham
said, “[N]o, I did not go to his home; I didn’t feel like that
would be appropriate.”
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
   Isham testified that in 2020, he contacted William Scribner
of “Scrib’s House Moving” “probably three or four times” and
his mother contacted Scribner multiple times about moving
the garage, but Scribner always responded that he was not
available to move the garage because he could not find labor
due to the COVID-19 pandemic. When asked if he waited for
Jack’s option to purchase to expire, Isham responded, “I had
talked to . . . Scribner before I think it totally expired,” but
“I think at that point I couldn’t afford it.” When his counsel
asked, “Well, what I’m getting at here is . . . Jack [had] an
option to purchase the garage . . . until May 11, 2020[, so]
what was your intention with respect to that option?” Isham
replied, “To get it moved as soon as I could.”
   Scribner testified that he owns “Scrib’s Moving and Heavy
Hauling.” Scribner stated that he was contacted by Isham’s
mother and father “about two or three” different times in 2020
about moving the garage. However, Scribner was not able to
move the garage at that time because of an eye injury; he did
not have trouble with employees because of the pandemic,
he “stayed busy.” Scribner did not have a signed contract, so
he “never took the option to move [the garage].” On cross-
examination, Jack asked Scribner if he would have been
able to undertake the job if the Ishams had told him in May
2020 that they wanted to go ahead and get the garage moved.
Scribner responded, “I would have. At that point I would
have sent my crew to do it; I would not personally have been
there.” According to Scribner, it would have taken 2 to 3 days
to get the garage moved, and most of that time would have
been getting the city permit and the required signatures from
the utilities.
   Isham testified that in February 2021, he had someone lined
up to move the garage and contacted Jack via Facebook; “I was
able to find his profile at that point.” The messages between
Isham and Jack were received into evidence. A message from
Isham dated February 25, 2021, stated:
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
         Hey been meaning to get ahold of you for a little
      while now. I was looking over our agreement and 5/11
      comes up on 2 years. If u can’t get me paid we’ll be
      removing the garage asap. Parents got a new farm prop-
      erty and my garage is better served there. Lmk[.]
Jack’s responding messages stated:
         Idk how to proceed but I messaged you in June 2019
      and let you know that I wasn’t interested in it and I had
      never heard anything back..I have since made repairs and
      put money into it.
         ....
         I’m sure we can work something out but I don’t think
      it will be $3k and moving the garage now isn’t really
      an option.
After some back and forth on the price, a message from Isham
stated:
         Honestly I’m gonna have to have a discussion with
      my parents before I do anything because they have it in
      mind to get the building to their place. Cutting the price
      in half is a heavy hit. I’ll get back to you in a day or 2.
Jack responded:
         Ok..half of the garage is completely finished and is
      our living room so moving it at this point is completely
      out of the question. I did let you know shortly after we
      got it that we were not interested and I had not heard
      anything back so I assumed you were not interested in
      it any further..I would like to work something out with
      you tho.
On February 26, Isham messaged Jack that the price for the
garage was “3k,” with “1500 . . . tomorrow” and the rest later.
Jack responded, “I’m not gonna be able to do anything more
on it..I have talked with a lawyer this morning about it and
you were notified and I heard nothing for well more than a
year.” Jack sent another message stating, “I’m sorry..I noti-
fied you on June 3rd, 2019 and you have since forfeited with
no response.” Isham messaged Jack that he would be there
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
“tomorrow” to take measurements, and Jack responded, “I
will call the sheriff if you show up.”
   Isham was asked about pictures that were received into
evidence. Isham testified that exhibit 4 was a picture that his
mother took “probably” in April 2021. Isham stated that the
picture depicted “an addition” that was being built “between
the garage and the trailer that connected it all.” Exhibits 6 and
7 were pictures taken by Isham’s mother in “late fall, 2021,”
or “early winter 2022”; Isham agreed when his counsel stated
that “it looks like now the breezeway has been sided and con-
nected to the garage.” Isham stated, “And also, beyond that,
in this picture the garage is now sided.” Isham confirmed that
exhibits 6 and 7 accurately reflect what the unit looked like at
the time of trial.
   On cross-examination, Jack noted that Isham previously
testified that he did not see the message Jack sent on June 3,
2019, right away. Jack asked Isham why he did not just send
him a message once he read the message from June 3 and let
Jack know that he was trying to get ahold of Scribner or that
he was still interested in getting the garage. Isham responded,
“Because I was under the impression that that was your attempt
to get one over on me when I went out of my way to help
you, and I didn’t have the words for it right away. . . . I have
never been in a situation like this. So I made mistakes along
the way.” Jack then asked, “So you didn’t have no words for
me for 21 months?” And Isham responded, “I just was trying it
[sic] find somebody to move it. And within [sic] I found some-
body that could is within [sic] I contacted you.”
   In its order entered on August 31, 2022, the district court
stated that Isham sought to enforce the specific term of the
parties’ contract allowing him to remove the two-car garage.
However, the court said it did not agree that the term was
enforceable because the facts demonstrate a “clear abandon-
ment” of any interest Isham had in the garage. The court
found that Isham demonstrated an intent to abandon the
garage when: (1) he failed to communicate with Jack after
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
Jack indicated he would not be purchasing the garage (and
the court found that Isham’s testimony that he did not know
how to get in touch with Jack following that message was not
credible), (2) he was not the party to make arrangements to
acquire the garage from the property, and (3) he was solely
motivated to obtain the garage for his parents’ property.
   Additionally, the district court stated:
         It would be inequitable for the Court to enforce a right
      that . . . Isham has neglected himself to timely enforce
      to the clear detriment of . . . Jack. The Court acknowl-
      edges that the owner of the garage is . . . Isham. While
      [Isham] contends that the focus is not on due diligence,
      the law does require that individuals act on their rights.
      Diligence in exercising one’s rights to ownership impact
      the rights of others. Here, under [Isham’s] theory of the
      case, [he] is the rightful owner of the garage, . . . Jack
      has never paid the $3000, therefore [Isham] could return
      at any future time and seek of [sic] writ of assistance
      for removal. Such an outcome is precluded by equitable
      theories of justice. What if [Isham’s] parents had pur-
      chased their new farm in the year 2030? [Isham] cannot
      sit in waiting on his right and spring into action when it
      is most convenient; certainly not when it has prejudiced
      the other party.
The court found that for 20 months Isham took no action to
exercise his right to remove the garage, which is now attached
to the residential property by a roofline and siding; “[r]emoval
of the garage from the property would now require detach-
ment from the residential property and improvement[s] have
been made.” The court denied Isham’s complaint, as well as
his subsequent motion for new trial.
   Isham appeals.

                ASSIGNMENTS OF ERROR
  Isham assigns that the district court erred by (1) refusing
him specific performance, (2) finding he had abandoned the
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             32 Nebraska Appellate Reports
                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
garage, (3) failing to issue process commanding the sheriff
of Butler County to assist him in obtaining possession of the
garage, and (4) permitting Jack to retain and keep Isham’s
garage. Jack did not submit a responsive brief on appeal.
                  STANDARD OF REVIEW
   [1] An action for specific performance sounds in equity, and
on appeal, an appellate court tries factual questions de novo
on the record and, as to questions of both fact and law, is obli-
gated to reach a conclusion independent from the conclusion
reached by the trial court. Walters v. Sporer, 298 Neb. 536, 905
N.W.2d 70 (2017).
   [2] In a replevin action tried without a jury, the findings
and disposition of the trial court have the effect of a jury ver-
dict and will not be disturbed unless clearly wrong. Alford v.
Neal, 229 Neb. 67, 425 N.W.2d 325 (1988).
                          ANALYSIS
   Isham’s complaint “pray[ed] for specific performance of
the agreement” between the parties and asked the court to
“decree that [Isham] is entitled to possession of the two-car
garage” and to “issue a writ of assistance to place [Isham]
in possession thereof” and “for damages for wrongful deten-
tion.” We read Isham’s complaint as seeking relief under two
theories of recovery—one under contract principles (specific
performance under the contract) and one under property prin-
ciples (right to possession of property). We will address each
claim in turn.
             No Right to Specific Performance
                       Under Contract
   [3,4] Specific performance is a remedy for breach of con-
tract actions. See Tierney v. Four H Land Co., 288 Neb. 586,
852 N.W.2d 292 (2014) (specific performance may be granted
only where there is valid, legally enforceable contract and
party seeking specific performance has substantially complied
with terms of contract). Here, both parties exchanged their
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                           ISHAM V. JACK
                       Cite as 32 Neb. App. 647
manufactured/mobile homes as set forth in the contract. There
was no breach of contract in that regard. The remaining por-
tion of the agreement related to Jack’s option to purchase the
garage for a certain amount within a certain timeframe. If
the option were exercised by Jack, both parties would have
been obligated to the terms agreed upon. See, Struempler v.
Peterson, 190 Neb. 133, 136, 206 N.W.2d 629, 631 (1973)
(“[w]hile it may be said that an option to purchase does not
in itself create an interest or estate in real estate, there is no
question but that upon exercise it becomes a contract for the
purchase and sale of the property”); Marathon Realty Corp. v.
Gavin, 224 Neb. 458, 398 N.W.2d 689 (1987) (option in and
of itself does not create binding obligation to either sell or
purchase realty; however, once option to purchase is exercised,
it becomes contract for purchase and sale of realty); Widick
v. Price, No. A-18-467, 2019 WL 1779505 (Neb. App. Apr.
23, 2019) (selected for posting to court website) (option to
purchase property does not ripen into contract for purchase of
property unless and until option is exercised).
   In this case, the option was not exercised, and instead,
Jack specifically declined the option by a text message sent
to Isham within a matter of weeks of signing the agreement;
Isham acknowledged seeing the text “within a month.” Under
the contract, if the option was not exercised, Isham “will
remove the attached 2 car garage” from the property. Although
no specific deadline was stated for that removal, Isham was
nevertheless obligated to remove the garage and had an
implied legal right to enter the premises to do so. However,
due to the lengthy delay by Isham in responding to Jack about
when he would act upon that right, such delay resulted in the
conclusion by Jack that Isham was no longer interested in
the garage and had forfeited his right to it. The district court
noted that Isham was seeking to enforce the specific term of
the contract allowing him to remove the garage, but it found
that the term was not enforceable because the facts demon-
strated a “clear abandonment” of any interest Isham had in
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                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
the garage and that “the law does require that individuals act
on their rights.” We construe the district court’s reasoning to
mean Isham waived his right to enforce the removal of the
garage because he neglected to timely take action to do so to
the “clear detriment of . . . Jack.”
   [5,6] Waiver is a voluntary and intentional relinquishment
or abandonment of a known existing legal right or such con-
duct as warrants an inference of the relinquishment of such
right. Jelsma v. Scottsdale Ins. Co., 231 Neb. 657, 437 N.W.2d
778 (1989). A written contract may be waived in whole or in
part, either directly or inferentially, and the waiver may be
proved by express declarations manifesting the intent not to
claim the advantage, or by so neglecting and failing to act as
to induce the belief that it was the intention to waive. Id.   We agree with the district court that Isham was not entitled
to specific performance because he waived his implied con-
tractual right to enter the premises to remove the garage due
to his lengthy delay in responding to Jack. Jack sent Isham
a text message on June 3, 2019, notifying Isham that he
did not want to purchase the garage and requesting that the
garage be removed. Isham did not timely respond to the mes-
sage even though it had been sent to the same phone number
used when the parties were formulating their agreement. And
although Isham acknowledged receiving the message “within
a month” of when Jack sent it, Isham nevertheless waited for
over 20 months to respond to Jack’s message. Isham’s neglect
and failure to act can be construed as inducing a belief in
Jack that it was Isham’s intention to waive his implied right
to enter the premises to remove the garage. See Jelsma v.
Scottsdale Ins. Co., supra.
            No Right to Possession of Garage
                 Under Property Principles
   Isham’s complaint also asked the court to “decree that
[Isham] is entitled to possession of the two-car garage” and
“for damages for wrongful detention.” Therefore, separate
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                           ISHAM V. JACK
                       Cite as 32 Neb. App. 647
from his claim under the contract, Isham sought relief under
a claim of property ownership and right to possession of the
same under replevin principles. See Zelenka v. Pratte, 300
Neb. 100, 912 N.W.2d 723 (2018) (object of replevin action is
to recover specific personal property).
   [7-9] In a replevin case, the plaintiff has the burden to prove
by a preponderance of the evidence that at the time of the
commencement of the action (1) the plaintiff was the owner of
the property sought, (2) the plaintiff was entitled to immediate
possession of the property, and (3) the defendant wrongfully
detained it. Id. At trial, Isham claimed that he was the owner
of the garage and was entitled to immediate possession of
the garage, but that Jack had wrongfully detained the garage.
Jack’s defense was that Isham had abandoned the garage. In
its order, the district court found that Isham was the owner of
the garage, but that he was not entitled to possession of the
garage because he had abandoned the garage. Abandonment
is a complete defense to a replevin action. See 66 Am. Jur. 2d
Replevin § 32 (2021). See, also, Graff v. Triple B Development
Corp., 622 S.W.2d 755 (Mo. App. 1981) (abandonment, if
proved, is complete defense to action for replevin and pre-
cludes recovery; to constitute abandonment, owner must act
with conscious intent neither to use nor retake possession of
property). Abandonment is the voluntary and intentional relin-
quishment of a right to property, and the evidence proving
abandonment must be clear and convincing. See Mueller v.
Bohannon, 256 Neb. 286, 589 N.W.2d 852 (1999).
   The evidence at trial established that less than 1 month after
the parties executed the May 2019 contract, which included
an option to purchase the garage, Jack specifically declined to
exercise the option to purchase the garage in a message sent
to Isham on June 3, 2019. Jack’s message stated: “Hey I’m
gonna pass on the garage with the price and what it will take
to fix it I think it’s just to much..I need to get it moved out
soon tho so I can get other stuff done.” Isham, who acknowl-
edged receiving the message “within a month” after it was
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                          ISHAM V. JACK
                      Cite as 32 Neb. App. 647
sent, did not respond to Jack’s message or make any attempt
to remove the garage at that time. Although Scribner testified
that Isham’s parents contacted him in 2020 about moving the
garage, Isham did not make any contact with Jack about the
garage until February 25, 2021. And the timing of that con-
tact, the district court concluded, was “when [Isham’s] parents
bought a farm,” and “another indication” that Isham “was not
intending on exercising his rights of ownership” to the garage
was that Scribner communicated with Isham’s parents, not
Isham, about possibly moving the garage. The court found
the facts “demonstrate a clear abandonment of any interest
in the two-car garage.” Based on the record, this finding by
the district court was not clearly wrong. See Alford v. Neal,
229 Neb. 67, 425 N.W.2d 325 (1988) (in replevin action tried
without jury, findings and disposition of trial court have effect
of jury verdict and will not be disturbed unless clearly wrong).
See, also, Block v. Fisher, 103 A.2d 575 (D.C. 1954) (finding
that appellant abandoned property he left in appellees’ yard
for 8 months); Fleming’s Flower Fields v. Schroeder/Klein
Investments, No. A-06-1344, 2008 WL 1747004 *2 (Neb. App.
Apr. 8, 2008) (selected for posting to court website) (“[w]here
a contract does not provide a time for performance, a reason-
able time for performance will by implied by law”; appellants’
failure to remove plants for more than 1 year showed their
intent to abandon their property).
   As stated previously, abandonment is a complete defense to
a replevin action. See 66 Am. Jur. 2d, supra. See, also, Graff v.
Triple B Development Corp., supra. Because Isham abandoned
the garage, he was not entitled to recover the garage and his
remaining assignments of error are moot.
                        CONCLUSION
  For the reasons set forth above, we affirm the district court’s
order denying Isham’s complaint.
                                                   Affirmed.
